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16CI 092149

No. Jefferson Circuit Court

DeMario V. Matthews

Vv. COMPLAINT

Transport Division, Inc. (TDI)
Product Distribution Company (PDC)
General Electric Company (GE)
Teamsters Local Union No. 89

U.S. Department of Transportation
U.S. Department of Labor

PARTIES

Division No.

JEFFERSON CIRCUIT COURT
DIVISION TEN (10)

PLAINTIFF

DEFENDANT

The Plaintiff, DeMario V. Matthews, (“DeMario”) is at all

times relevant herein a resident of Louisville, Jefferson County,

Kentucky, employee of TDI/PDC, member of Teamsters Local

Union No. (“Union”). General Electric is a corporation engaged in

commerce in the Commonwealth of Kentucky and involved in

relevant and material business relation(s) with TDI/PDC. The

Union is the legal representative of DeMario as one of it’s

members and charged with representing DeMario in connection
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with “Terms and Conditions of Employment”). U.S. Department of
Transportation (“Transportation Department”) is a Cabinet Level
Entity of the U.S. Federal Government responsible inter alia for
regulating certain interstate and intrastate motor vehicle and
motor carrier travel and operations on the highway(s) within
these United States of America.

The U.S. Department of Labor (“Labor”) is a Cabinet level entity
responsible, inter alia for regulation and enforcing Whistleblower

Authority under The Surface Transportation Assistance Act

(“STAA”).

JURISDICTION AND VENUE

The Circuit Court of Louisville, Jefferson County, Kentucky
has jurisdiction over matters involving disputes exceeding
$4,000.00 and involving Labor/Employer Contracts and related
“terms and conditions of employment’, including ancillary legal
matters. TDI/PDC employed DeMario and is a party to the

Collective Bargaining Agreement between TDI and Union. GE has
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contract (s) and commercial relations with TDI/PDC. Suit is

proper in this Circuit Court of Jefferson County, Kentucky.

1. U.S. Department of Transportation (“Transportation
Department’) is a Cabinet Level Entity involved responsible
inter alia for regulating interstate and intrastate motor
vehicle commerce on highways, roads and other land
transportable routes. U.S. Department of Labor (“Labor”) is

a Cabinet Level Entity responsible inter alia for enforcement

and regulating of STAA.

PERT T
Dismissal and/ or Layoff

 

1. DeMario was employed by TDI/PDC in 2014 in Louisville,
Jefferson County as a Truck Driver and was dismissed or
laid off on about December 28, 2015.

2. TDI/PDC violated the Seniority Provisions of the Union's
Collective Bargaining Agreement Contract when it
dismissed or laid off DeMario.

3. TDI/PDC and GE conspired to dismiss or lay off DeMario in
violation of the CBA and National Labor Relations Act

(NLRA) and committed Unfair Labor Practices
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4. Particularly TDI, PDC, GE and Union have violated
Wagoner Act (“NLRA”) sections, 7, 8, 8(a) (1), 8(a)(2),
8(a) (3) and 8(a)(4).

RETALIATION

5. TDI/PDC and GE harassed and retaliated against DeMario
beginning about June 25, 2014 until his dismissal or layoff
as a result of him complaining about violation of rules and
regulations promulgated by Transportation Cabinet and
Labor when he protested to certain TDI/PDC management
official(s) and or agents that he was operating his Motor
Vehicle in intrastate and interstate commerce and
“doctoring log books” as requested to benefit the TDI/PDC

and GE economically and put his safety at risk.

6. The Union has failed to represent DeMario in Good Faith
including Arbitrating his grievances in violation of the

CBA, NLRA and Complicit behavior with GE.
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Wherefore, Plaintiff, DeMario V. Matthews prays and follows:
1. TDI/PDC, GE cease and desist from engaging in
activity violating the NLRA and Transportation

Department.

2. Arbitration of his grievances by the Union

3. Restoration to his position with TDI/PDC with back
pay, proper interest and seniority.

4. Damages for exposing misconduct of Transportation
Rules and Regulations and STAA

5. A Jury Trial of ALL Issues so Triable

6. ALL other Fair and proper relief.

Respectfully i
( V. L

DeMario V. Matthews

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